                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                       )
 et al.,                                            )
                                                    )
                  Plaintiffs and                    )
                  Counterclaim Defendants,          )
                                                    )
 v.                                                 )          Case No. 4:16-cv-02163
                                                    )
 PEOPLE FOR THE ETHICAL                             )
 TREATMENT OF ANIMALS, INC., et al.,                )
                                                    )
                  Defendants and                    )
                  Counterclaim Plaintiffs.          )

            COUNTERCLAIM PLAINTIFFS’ MOTION FOR SUMMARY JUDMENT
               AGAINST COUNTERCLAIM DEFENDANT ANDREW SAWYER
      Pursuant to Federal Rule of Civil Procedure 56, Counterclaim Plaintiffs, People for the Ethical

Treatment of Animals, Inc. and Angela Scott (together, “Plaintiffs”), move the Court for summary

judgment on Plaintiffs’ claims against Counterclaim Defendant Andrew Sawyer (“Sawyer”).

Summary judgment is proper because there is no genuine dispute as to any material fact and

Plaintiffs are entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). In support of this

motion, Plaintiffs incorporate as if fully set forth herein their Memorandum and Statement of

Uncontroverted Material Facts filed concurrently herewith.

         WHEREFORE, Plaintiffs respectfully requests that the Court enter an Order in the form

submitted herewith,

         (1) granting summary judgment in their favor and against Sawyer, by finding that Sawyer

             has violated and continues to violate the Endangered Species Act and its implementing

             regulations, by unlawfully taking the chimpanzee Joey (“Joey”), a federally protected

             animal (16 U.S.C. § 1538(a)(1)(B), (G); 50 C.F.R. §§ 17.11(h), 17.21(c), 17.31(a)), and
          by continuing to possess Joey who was unlawfully taken (16 U.S.C. § 1538(a)(1)(D);

          50 C.F.R. §§ 17.11(h), 17.21(d), 17.31(a));

      (2) entering an injunction terminating Sawyer’s ownership and possessory rights with

          respect to Joey, and prohibiting Sawyer from owning or possessing endangered or

          threatened animals in the future, and from otherwise violating the ESA; and

      (3) scheduling a hearing to address the appointment of a special master or guardian ad

          litem to determine placement of Joey at an appropriate Global Federation of Animal

          Sanctuaries accredited sanctuary, consistent with his best interests.


Dated: March 18, 2019                       Respectfully submitted,

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                                            Attorneys for Defendants/
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                               CERTIFICATE OF SERVICE

       I certify that on March 18, 2019, the foregoing was electronically filed with the Clerk of

the Court using the CM/ECF system, by which notification of such filing was electronically sent

and served to the following:

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                                                    /s/ Jared S. Goodman




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